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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No.



       JARED BRECHOT, Plaintiff

  v.

       JOHN DOE, Defendant


                               COMPLAINT AND JURY TRIAL DEMAND


         Plaintiff Jared Brechot, by and through his counsel of record, pursuant to Rules 3, 7(a) and 8(a)

  of the Federal Rules of Civil Procedure, commences this action by filing this Complaint against John

  Doe (“Defendant”) and states and alleges as follows:


                                               PARTIES

  1.     Mr. Brechot is an individual and a citizen of the State of Colorado.

  2.     Defendant is an individual, and, upon information and belief, is not a citizen of the State

  of Colorado.

                                           JURISDICTION

  3.     This Court may exercise subject matter jurisdiction over the claims set forth in this

  Complaint because “the matter in controversy exceeds the sum or value of $75,000, exclusive of

  interest and costs, and is between . . . citizens of different States.” 28 U.S.C. § 1332(a)(1).

  4.     Defendant has committed torts and other unlawful acts that were expressly intended to

  and did cause harm to Mr. Brechot in the State of Colorado. Defendant has intentionally directed

  his conduct into and sought to cause injury in the State of Colorado. Defendant is subject to
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  personal jurisdiction pursuant to, among other sources, the Colorado Long-Arm Statute (Colo.

  Rev. Stat. § 13-1-124. 13-1-124) and the principles set forth in Calder v. Jones, 465 U.S. 783

  (1984).

  5.        Venue in this Court is proper because “a substantial part of the events or omissions

  giving rise to the claim occurred” in this judicial district, as described below. 28 U.S.C. §

  1391(b)(2).

                                       STATEMENT OF FACTS

  6.        Mr. Brechot moved to Colorado, from Texas in March 2017, to begin working at OZ

  Architecture.

  7.        OZ Architecture is located at 3003 Larimer Street, Denver, CO 80205.

  8.        After Mr. Brechot began working at OZ Architecture, starting in April 2017 and

  continuing to the present day, salacious material began appearing on Craigslist and other online

  venues specifically mentioning Mr. Brechot and his employer, OZ Architecture.

  9.        Defendant owns and operates the website located www.jaredbrechot.info (hereinafter the

  “Website”).

  10.       The Defendant created the Website on or before April 24, 2017 (hereinafter the

  “Website”).

  11.       Referring to Mr. Brechot, the Defendant published or caused to be published between

  April 24, 2017, and June 1, 2017, the following statements on the Website:

                   The following compilation has been curated by a few members of
                   the Denver Design Community. Jared was hired by OZ Architects
                   without any employment verification or background checks. We
                   confirmed with HR at OZ that “Jared was hired because of a
                   relationship with an older male Principal.” HR is lying about it.
                   In addition to having no credentials, Jared has a reputation for
                   design problems, unemployment and p2p relationships with
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                  older men. He also is the subject of several complaints and
                  pending litigation.

  (emphasis added). See Exhibit 1 (attached).

  12.     Mr. Brechot has never been in a relationship with an older male principal at OZ

  Architecture.

  13.     Between April 24, 2017, and present, Mr. Brechot was not the subject of pending

  litigation.

  14.     Mr. Brechot has never engaged in sexual relations with an older male principal at OZ

  Architecture.

  15.     Mr. Brechot has never engaged in intimate relations with an older male principal at OZ

  Architecture.

  16.     OZ Architecture did not hire Mr. Brechot because of a relationship he had with an older

  male principal at OZ Architecture.

  17.     On or before June 1, 2017, an anonymous user on Craigslist created and published a

  Craigslist advertisement using Mr. Brechot’s name and likeness (hereinafter “Denver Craigslist

  Ad”) in the Casual Encounters category for Denver, Colorado, located at

  https://denver.craigslist.org/cas/6077540092.html.

  18.     The Denver Craigslist Ad included the following text: “Looking to service.

  Evening/Weekends. Available for married and bi tops.”

  19.     On or before June 1, 2017, an anonymous user on Craigslist created and published a

  Craigslist advertisement using Mr. Brechot;s name and likeness (hereinafter “Houston Craigslist

  Ad”) in the Casual Encounters category for Houston, Texas, located at

  https://houston.craigslist.org/cas/6092875335.html.

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  20.   The Casual Encounters category of Craigslist is commonly used by individuals to arrange

  casual sex with strangers and prostitutes.

  21.   Between June 1, 2017, and present, the Website featured reprints of the Craigslist Ads

  under the title “Jared’s Craigslist Ads.”

  22.   Craigslist removed the Denver Craigslist Ad and Houston Craigslist Ad when Mr. Brechot

  reported the Denver Craigslist Ad and Houston Craigslist Ad to Craigslist for being falsely

  attributed to him.

  23.   Between June 1, 2017, and present, the Defendant added the following statement to the

  Website: “CraigsList has requested we delete the Ads attributed to Jared because the links are no

  longer active. Instead we will have a Gallery Section with new Ads-Pics from Denver GRNDR

  users and pics we've received via email. (See Below).” See Exhibit 2 (attached).

  24.   Defendant published or caused to be published the Denver Craigslist Ad and Houston

  Craigslist Ad.

  25.   Mr. Brechot did not publish or cause to be published the Denver Craigslist Ad and Houston

  Craigslist Ad.

  26.   Mr. Brechot did not authorize the Defendant to publish or cause to publish the Denver

  Craigslist Ad and Houston Craigslist Ad on his behalf.

  27.   Defendant knew the allegations contained in the Denver Craigslist Ad and Houston

  Craigslist Ad about Mr. Brechot were false when he made them.

  28.   Defendant intentionally impersonated Mr. Brechot when he published or caused to be

  published the Denver Craigslist Ad and Houston Craigslist Ads.

  29.   Upon information and belief, the Defendant resided in the State of Texas during the

  relevant time period.
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  30.   Referring to Mr. Brechot, the Defendant published or caused to be published between June

  1, 2017, and present, the following statements on the Website:

         UPDATE: We have received two emails from Austin TX both confirming
         Jared did not have any “startup experience” like he claims on his Resume.
         Both said he was a “Personal Assistant” in college and after. He always
         worked for older men. Traveled a lot and got gifts, clothing etc. Some things
         never change.

         The following compilation has been curated by a few members of the Denver
         Design Community. Jared was hired by OZ Architects without any employment
         verification or background checks. We confirmed with HR at OZ that “Jared was
         hired because of a relationship with an older male Principal.” HR is lying about it.
         In addition to having no credentials, Jared has a reputation for design problems,
         unemployment and p2p relationships with older men. He also is the subject of
         several complaints and pending litigation.

         OZ hired him without doing any research and instead relied on a relationship with
         a Principal. Firm employees claim Jared is “entertaining” two men at the firm and
         clients. Lubline knows. Employees have been sharing x-rated pics and videos the
         past few weeks.

         We also attempted to reach any Company on Brechot’s Resume and couldn't find
         any previous Employers he listed, Finally, one OZ employee said Brechot was
         served some legal papers in August, but didn’t know what it was about.

         Havenly stopped promoting Jared as a Designer that completed 100 designs and
         this wasn't on his Resume, either. Havenly said on a phone call that he ‘quit without
         completing designs and propositioned at least one client.”

         CraigsList has requested we delete the Ads attributed to Jared because the
         links are no longer active. Instead we will have a Gallery Section with new
         Ads-Pics from Denver GRNDR users and pics we've received via email. (See
         Below).

         Thank-you to the 3 current employees of OZ for sharing recent developments. We
         will publish soon. Some OZ employees have videos of Jared. Email to receive the
         videos.

         COMMENTS RECEIVED:

         AustinDrag1977 November 12 Jared performed in a drag show called
         Dragoween for several years. He danced well in heels and usually slept with the
         older guys. Didn't see him this year, but everyone remembers him.
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        ALC4fun November 10         Who's the Harvey Weinstein at OZ? Please post.

        DenverTop57 November 1         Very talented young man. Affordable.

        afteraa37 September 28       I work here and he makes me uncomfortable, staring
        and flirting.

        ATX787 September 26 I knew Jared in college and a few years after, this is the
        same behavior. We smoked alot of bud. I don't think he's ever had a job, but always
        had trips and nice clothes. I heard he went to Denver to stay with his sister.

        DenverAE87 September 16, 2017 Our firm is also in Denver and we received
        Brechot's Resume in February. Nothing was true and after a few calls, which
        included negative information, we concluded he wasn't employable. Now's there's
        pending litigation. OZ is different, some firms will hire "friendly" guys only to
        regret it later. Maybe it makes the clients happy?

        slad651 September 5, 2017 It's all true based on my conversations, Jared
        knows who to entertain and it works. I'm at another firm, but I have heard some
        employees are offended by it.

        DDowntownLad_92 August 18, 2017 Who do I have to sleep with at OZ?
        This entry-level Brechot got a great deal. I'll give up my ass, too.

        Anonymous May 10, 2017 I'm in Denver and it's my understanding that
        Jared got the job because of a relationship with someone at OZ Architects. So
        what. He's an hourly employee with no responsibility. It doesn't matter if OZ didn't
        check him out and instead relied on a Partner. His job doesn’t require credentials
        or talent. From his CList ads he looks pretty hot. He should post his Resume.
        His website, jaredbrechot.com he is self-described as a “versatile creative,” draw
        your own conclusions.

        Anonymous May 2, 2017 I work at OZ. What a mess. HR is going to have to
        explain this. I think I know which Partner has the special relationship, he should
        go, too.

        Jay Williams Apr 26, 2017            Jared has to grow up someday. I knew him in
        college. He's never had a job, older guys support him. He lived with his Sister in
        Katy for 2 years, now with a Sister in Denver. He got a job at OZ Architects, but
        based on online comments, it was because he had a relationship with an older male
        Principal at the firm. Not surprised. I've seen several online reviews and a few
        members of the design community, pissed off, it appears, have started a new website
        jaredbrechot.info I liked Jared. I wish he'd grow up and stop being a gold-digger.

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        Anonymous Apr 18, 2017 He should have stayed in school. I don't think he's
        ever had a job and lives at home still.

        Anonymous Apr 15, 2017 Has lived off the kindness of older men. All through
        college and apparently in Denver now.

         LoDo DL       Apr 3, 2017     Pay2play


        Oz Architecture Denver
        Jared Brechot Marc Lubline Ashley Hafer

        OZ Architecture - Don't trust HR and hiring practices Denver Colorado
        OZ Architecture is famous for us in the Denver area. The latest bizarre hiring of
        Jared Brechot because of a relationship with someone at the firm is no surprise.
        Jaredbrechot.info This has been going on a long time and yes, we all talk about it.
        HR allows principals to suggest hires with no review or background inquiry. These
        hires don't last long, but it still damages the firms credibility. OZ Architecture
        shouldn't be trusted. Unless you know where to sleep. Many at OZ know that reality.
        OZ Architecture shouldn’t be trusted
        Jared Brechot makes $15/hr at the firm. He's not the main issue, OZ Architecture
        is. There has been a hire the friendly guys policy for years. This guy (reportedly his
        first job) was never interviewed, never checked out and was never an applicant, he
        was simply "chosen" by a Principal at the firm because of a "relationship." OZ
        would be reluctant to inform clients that's how they do business. OZ is investigating
        and recognizes employee discomfort over the whole matter. That's why a few
        current and former employees have joined an effort to provide truthful public
        information: Jaredbrechot.info -Updated weekly.

        OZ Architecture Leadership - Favortism
        Meetings were held today to preserve OZ's questionable reputation. HR offered
        “ethical” standards for hiring “friends of Principals.” Jared Brechot is not the
        first kid to be used by OZ. There are much more ethical firms to work for.

        Jared Brechot is not a Designer. [ScamGuard] JaredBrechot.com

        I hired a General Contractor for a remodel on a 2-bedroom condominium. The
        Contractor was recommended by someone I trust. After we reviewed design
        objectives, the Contractor suggested we hire Jared Brechot to complete some revit
        files on the design specs I had created. We met with Jared Brechot Designs and he
        agreed to supply a revit model for the condominium. About a week later we
        received some very simple CAD drawings that only included the first floor. Those
        drawings were used by the Contractor to order materials, including some steel
        beams and columns. The drawings were wrong in many instances. The 22' steel
        beams were too short by 6" in length and could not be used. This cost
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        the Contractor $8,000. Jared corrected those drawings and they were still off, but
        our structural engineer corrected them by making a site visit. Another week later
        Jared delivered some drawings of the electrical plan and bathrooms. These
        drawings were inaccurate, too. Plumbing mistakes required an additional $5,000
        in costs to the project. The location of electrical lighting was a mess. We never
        received a revit file, which we were told would allow us to see the condominium in
        3-d. The drawings were poorly done, but later corrected by our structural
        engineer. These mistakes delayed the project for weeks. We also ordered a piece
        of marble from one of Jared's friends and gave him the dimensions and a picture
        of how it should be fabricated for hanging. We received it a week later and it was
        done exactly opposite of the drawings, upside down - a waste of another $1,200.
        Jared decided that was “a better way to present the store” or something like that.
        He didn’t follow direction. When we tried to speak to Jared he quit the project and
        walked out. Eventually the Contractor quit because of the many discprepancies
        with Jared's work product and overall frustration. As of January (according to
        our lawyer) Jared was no longer afilliated with the Contractor. We are going to
        sue the Contractor because it was his recommendation, even though I’m sure the
        Contractor lost a lot of money over the careless drawings. This whole experience
        with Jared cost us more than $25,000. He didn’t know what he was doing and
        didn’t deliver what he promised. When things went bad, I asked for references or
        a portfolio and he couldn't furnish one. I have since looked at his
        website jaredbrechot.com and there is no portfolio there, either. The Contractor
        refunded the amount we paid Jared, but the damage was much more. If you want
        to hire a Designer ask for their portfolio or a few references.”

        Jan Newsome (March 2017) I received a resume from Jared Brechot in February.
        I work with several professional firms in Texas. We could not validate any of the
        Resume contents. The background check was not favorable. Its been reported he
        is now employed by OZ Architects in Denver. I don't believe that’s true because
        they would have vetted him. We couldn’t even complete a phone interview. I wish
        him well, but our biggest problem in HR is legitimate information from a
        candidate. If you're a serious candidate for a professional job, provide verifiable
        substance. Failing to do so will get you in trouble (See Above).

        Designer in Denver (April 2017) I work as a designer in Denver. I know OZ well.
        From what I understand he was hired by Oz Architects because of a personal
        relationship with one of the principals. Sometimes the qualifications don't matter
        so much ; )

        OZ Says_84 This mess is all true. Jared is very friendly with a few Principals and
        gets special treatment. It has compromised the firm, though. A few clients have
        already asked me about it. From someone at OZ I think they should screen
        employees and follow an Application process. By now we’ve all seen Jared’s nude
        pics and heard the stories.

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         Jared Brechot & Jared Brechot Design at jaredbrechot.com Jared Brechot is
         not a Designer. Cost our project $30,000 Houston Texas

         #1 Consumer Suggestion       Jared Brechot Oz Architects Denver

         “This job candidate shared his Resume in February and we were unable to
         validate any of the contents. I'm not sure if the above post about his current
         employer is accuarate. It is very important to check employment history and
         references. I've been in HR for more than 20 years and this happens way too
         often.”

         Jared Brechot was hired as an Assistant for $30k/Year

         This young man has an entry level position, probably hourly. Maybe $30k a year.
         So what if he knows somebody at OZ and that got him the job. He’s not a designer
         or architect, he makes copies and coffee. OZ will use him for simple things. These
         warnings are irrelevant. He has no career in Design and is probably just trying to
         be employed. Maybe he has a few bad reviews for trying to design, but at OZ he
         has no real responsibility. I got my first job because I knew somebody. This Report
         should be removed. If somebody has his Resume they should post it.

         http://www.ripoffreport.com/reports/jared-brechot/cinco-ranch-texas-
         77494/jared-brechot-jared-brechot-design-at-jaredbrechotcom-jared-
         brechot-is-not-a-designer-1361722

         jaredbrechot.com
         Jared Brechot Designs
         Jared Brechot Retained for revit work on a small private school, never got
         drawings Houston Texas

         We retained this young man for $1200 to complete some drawings and model for a
         school project. we saw some early drawings that looked they were from another
         school. I don't think he’s an architect. He never finished the drawings or returned
         our calls. We have emailed him several times, but had to hire a new architect.
         Jared Brechot not the first at OZ Architecture
         Former Employee at OZ: Denver knows all about OZ. Jared isn’t the first. HR
         about to act. No interview. No references. No background check. jaredbrechot.com

         http://www.ripoffreport.com/reports/jaredbrechotcom-jared-brechot-
         designs/houston-texas-77027/jaredbrechotcom-jared-brechot-designs-jared-
         brechot-retained-for-revit-work-on-a-small-1362567

  31.   Mr. Brechot did not commit the acts of professional misconduct alleged on the Website.

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   32.   The Website alleges or insinuates that Mr. Brechot committed acts of sexual misconduct.

   33.   The Website alleges or insinuates that Mr. Brechot committed acts of professional

   misconduct.

   34.   Mr. Brechot did not commit the acts of sexual misconduct alleged or insinuated on the

   Website.

   35.   Mr. Brechot did not commit the acts of professional misconduct alleged or insinuated on

   the Website.

   36.   Mr. Brechot has never propositioned a client for sexual relations or sexual activities.

   37.   Mr. Brechot has not lied about his work experience on his resume.

   38.   Mr. Brechot has not misrepresented his work experience on his resume.

   39.   Between April 24, 2017, and present, Mr. Brechot has not been served with any court

   papers, pleadings, filings, or other documents involving a lawsuit.

   40.   Between April 24, 2017, and present, Mr. Brechot asked the OZ Architecture Human

   Resources Department about the allegations on the Website.

   41.   Between April 24, 2017, and present, the OZ Architecture Human Resources Department

   informed Mr. Brechot that it investigated the allegations on the Website.

   42.   Between April 24, 2017, and present, the OZ Architecture Human Resources Department

   repeatedly told Mr. Brechot that no employee in the Human Resources Department has

   contributed any comment, statement, or written communication about Mr. Brechot to the

   Website.

   43.   Between April 24, 2017, and present, the OZ Architecture Human Resources Department

   has repeatedly told Mr. Brechot that it had determined the allegations on the Website about Mr.

   Brechot were unsubstantiated.
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   44.   Between April 24, 2017, and present, the OZ Architecture Human Resources Department

   has repeatedly told Mr. Brechot that there are no x-rated videos, images, photographs, or other

   electronic captures of Mr. Brechot being circulated by OZ Architecture employees.

   45.   The Internet Corporation for Assigned Names and Numbers ( hereinafter “ICANN”) is a

   nonprofit organization responsible for coordinating the maintenance and procedures of several

   databases related to the namespaces of the Internet, ensuring the network's stable and secure

   operation.

   46.      ICANN performs the actual technical maintenance work of the central Internet address

   pools and DNS root zone registries pursuant to the Internet Assigned Numbers Authority

   function contract.

   47.      An Internet domain name is the web address which an individual, business, or other

   entity has registered as part of a national or international Internet domain.

   48.      The ICANN WHOIS domain database is a listing of all registered Internet domain

   names.

   49.      The ICANN WHOIS Internet domain page for the Website contains the following

   information:

            Raw WHOIS Record

            Domain Name: JAREDBRECHOT.INFO

            Registry Domain ID: D503300000038930663-LRMS

            Registrar WHOIS Server: whois.godaddy.com

            Registrar URL: http://www.godaddy.com

            Updated Date: 2017-06-23T20:34:35Z

            Creation Date: 2017-04-24T18:49:07Z
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         Registry Expiry Date: 2018-04-24T18:49:07Z

         Registrar Registration Expiration Date:

         Registrar: GoDaddy.com, LLC

         Registrar IANA ID: 146

         Registrar Abuse Contact Email: abuse@godaddy.com

         Registrar Abuse Contact Phone: +1.4806242505

         Reseller:

         Domain Status: ok https://icann.org/epp#ok

         Registry Registrant ID: C201693013-LRMS

         Registrant Name: Registration Private

         Registrant Organization: Domains By Proxy, LLC

         Registrant Street: DomainsByProxy.com

         Registrant Street: 14455 N. Hayden Road

         Registrant City: Scottsdale

         Registrant State/Province: Arizona

         Registrant Postal Code: 85260

         Registrant Country: US

         Registrant Phone: +1.4806242599

         Registrant Phone Ext:

         Registrant Fax: +1.4806242598

         Registrant Fax Ext:

         Registrant Email: jaredbrechot.info@domainsbyproxy.com

         Registry Admin ID: C201693015-LRMS
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         Admin Name: Registration Private

         Admin Organization: Domains By Proxy, LLC

         Admin Street: DomainsByProxy.com

         Admin Street: 14455 N. Hayden Road

         Admin City: Scottsdale

         Admin State/Province: Arizona

         Admin Postal Code: 85260

         Admin Country: US

         Admin Phone: +1.4806242599

         Admin Phone Ext:

         Admin Fax: +1.4806242598

         Admin Fax Ext:

         Admin Email: jaredbrechot.info@domainsbyproxy.com

         Registry Tech ID: C201693014-LRMS

         Tech Name: Registration Private

         Tech Organization: Domains By Proxy, LLC

         Tech Street: DomainsByProxy.com

         Tech Street: 14455 N. Hayden Road

         Tech City: Scottsdale

         Tech State/Province: Arizona

         Tech Postal Code: 85260

         Tech Country: US

         Tech Phone: +1.4806242599
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          Tech Phone Ext:

          Tech Fax: +1.4806242598

          Tech Fax Ext:

          Tech Email: jaredbrechot.info@domainsbyproxy.com

          Registry Billing ID: C201693016-LRMS

          Billing Name: Registration Private

          Billing Organization: Domains By Proxy, LLC

          Billing Street: DomainsByProxy.com

          Billing Street: 14455 N. Hayden Road

          Billing City: Scottsdale

          Billing State/Province: Arizona

          Billing Postal Code: 85260

          Billing Country: US

          Billing Phone: +1.4806242599

          Billing Phone Ext:

          Billing Fax: +1.4806242598

          Billing Fax Ext:

          Billing Email: jaredbrechot.info@domainsbyproxy.com

          Name Server: NS27.DOMAINCONTROL.COM

          Name Server: NS28.DOMAINCONTROL.COM

          DNSSEC: unsigned

   See Exhibit 3 (attached).


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   50.    GoDaddy.com, LLC (“GoDaddy”) is a Delaware corporation with its principal place of

   business in Scottsdale, Arizona.

   51.    GoDaddy provides web hosting and domain registration services.

   52.    GoDaddy is the registrar and web host for the Website.

   53.    GoDaddy or its agents have control, custody, or possession over information which

   would reveal the identity of the Defendant.

   54.    Domains by Proxy, LLC, is an Internet company owned by GoDaddy founder Bob

   Parsons which offers subscribers to list Domains by Proxy, LLC, as their administrative and

   technical contacts in the Internet's WHOIS database, thereby delegating responsibility for

   managing unsolicited contacts from third parties and keeping the domains owners’ personal

   information secret.

   55.    Defendant used Domains by Proxy, LLC, to prevent his personally identifying

   information, including his name and address, from being listed on the ICANN WHOIS Domain

   name database.

   56.    Domains by Proxy, LLC, or its agents have control, custody, or possession over

   information which would reveal the identity of the Defendant.

   57.    Mr. Brechot cannot reasonably ascertain the identity of the Defendant without GoDaddy

   or Domains by Proxy, LLC, first providing information which would reveal the identity of the

   Defendant.

   58.    The identity of the Defendant can reasonably be ascertained by information in the

   control, custody, or possession of GoDaddy or its agents.

   59.    The identity of the Defendant can reasonable be ascertained by information in the control,

   custody, or possession of Domains by Proxy, LLC, or its agents.
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   60.    On May 3, 2017 at 8:16 p.m. MST, the Defendant or an agent of the Defendant sent an

   email titled “Public Information: Jared Brechot” (hereinafter “May 3, 2017, Email”) using the

   email account denverdesign90@gmail.com to the following email addresses:

          a. mfaichnie@ozarch.com

          b.   rwillsie@ozarch.com

          c.   msix@ozarch.com

          d.   cvandall@ozarch.com

          e. mlubkine@ozarch.com

          f.   klsndau@ozarch.com

          g. dcarlson@ozarch.com

          h.   fromero@ozarch.com

          i. rgreek@ozarch.com

          j. scummings@ozarch.com

          k.   jcoleman@ozarch.com

          l. kdavis@ozarch.com

          m. aplonkey@ozarch.com

          n.   ajohndon@ozarch.com

          o. blooex@ozarch.com

          p. nmeisen@ozarch.com

          q. dflora@ozarch.com

          r. berickson@ozarch.com

          s. ebecker@ozarch.com

          t. rchilders@ozarch.com
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            u.   jjones@ozarch.com

            v.   alane@ozarch.com

            w. ashaver@ozarch.com

            x. csullivan@ozarch.com

            y. dcampbell@ozarch.com

            z. mlee@ozarch.com

            aa. bdelsney@ozarch.com

            bb. rfritz@ozarch.com

            cc. jlevy@ozarch.com

            dd. rwilliams@ozarch.com

            ee. djensen@ozarch.com

            ff. ebunket@ozarch.com

            gg. knathe@ozarch.com

            hh. akeil@ozarch.com

            ii. cstorey@ozarch.com

            jj. jbrechot@ozarch.com

         See Exhibit 4 (attached).


   61.      The May 3, 2017, Email included the following message: “www.JaredBrechot.info

   Which Partner?”

   62.      Thirty five of the recipients of the May 3, 2017, Email were co-workers of Mr. Brechot at

   OZ Architecture.



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   63.    Between April 24, 2017, and present, the Defendant published or caused to be a

   published a statement on the Website reading: “Share tips about Jared

   DenverDesign90@gmail.com.”

   64.    Defendant or an agent of the Defendant controls the email address

   denverdesign90@gmail.com.

   65.    On May 24, 2017, at 8:40 p.m. MST, the Defendant or an agent of the Defendant sent an

   email titled “OZ Architecture Hiring Process - Update” (hereinafter “May 24, 2017, Email”)

   using the email account denverdesign90@gmail.com to the following email addresses:

          a.   jbrechot@aol.com

          b.   robinbrechot@gmail.com

          c.   robinbrechot@aol.com

          d.   rustybrechot@gmail.com

          e. rustybrechot@aol.com

          f. jaybrechot@aol.com

          g.   jacklynbrechot@aol.com

          h. jacklynbrechot@gmail.com

          i. rbrechot@gmail.com

          j. rbrechot@aol.com

          k. jbrechot@ozarch.com

          l.   Hello@ozarch.com

          m. jaredbrechot@gmail.com

          n.   careers2@ozarch.com

          o. awhite@ozarch.com
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          p. ellanes@ozarch.com

          q.   jmapp@ozarch.com

          r. smellblom@ozarch.com

          s. dflora@ozarch.com

          t. rgreek@ozarch.com

          u. cvandall@ozarch.com

          v. ggussenbauer@ozarch.com

          w. ebecker@ozarch.com

          x. kdavis@ozarch.com

          y. klsndau@ozarch.com

          z. mfaichnie@ozarch.com

          aa. nmeisen@ozarch.com

          bb. ajohndon@ozarch.com

          cc. akeil@ozarch.com

          dd. alane@ozarch.com

          ee. aplonkey@ozarch.com

          ff. shaver@ozarch.com

          gg. bdelsney@ozarch.com

          hh. berickson@ozarch.com

          ii. blooex@ozarch.com

   See Exhibit 5 (attached).

   66.    The May 24, 2017, Email included the following message: “JaredBrechot.info.”


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   67.    Twenty one of the recipients of the May 24, 2017, Email were co-workers of Mr. Brechot

   at OZ Architecture.

   68.    Defendant’s intentional, outrageous, ongoing course of conduct is intimidating,

   harassing, threatening, and so extreme as to cause Mr. Brechot to feel restrained and unable to

   focus on his extensive business responsibilities, his personal life, and professional associations.

   69.    Defendant’s intentional, outrageous, ongoing course of conduct is causing Mr. Brechot

   personal and professional anxiety, fear, harassment, and intimidation.

   70.    Defendant’s intentional, outrageous, ongoing course of conduct is causing Mr. Brechot to

   expend considerable sums of money to protect himself and his business relations from further

   damage.

   71.    Defendant’s intentional, outrageous, ongoing course of conduct is causing Mr. Brechot to

   suffer damages in an amount to be determined at trial, but that in any event exceed $75,000.00

   USD.

                                          COUNT I
                                   DEFAMATION-LIBEL PER SE

   72.    Mr. Brechot repeats and re-alleges each of the allegations in the preceding paragraphs

   previously pled as if each were set forth in full herein.

   73.    Defendant intentionally or at least negligently made false and defamatory statements about

   Mr. Brechot.

   74.    Defendant intentionally or at least negligently made unprivileged publications of the false

   and defamatory statements concerning Mr. Brechot to a third party.




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   75.      Defendant intentionally or at least negligently made false and defamatory statements

   concerning Mr. Brechot that falsely impute sexual misconduct, unfitness to perform the duties of

   employment, or prejudice Mr. Brechot in his profession or trade.

   76.      Defendant’s statements alleged herein constitute libel in violation of the common law of

   the State of Colorado.

   77.      As a result of Defendant’s libel, Mr. Brechot has suffered general damages for harm to

   reputation, special damages, and damages for mental suffering, in an amount to be determined at

   trial.

                                           COUNT II
                                   MISAPPROPRIATION OF LIKENESS

   78.      Mr. Brechot repeats and re-alleges each of the allegations in the preceding paragraphs

   previously pled as if each were set forth in full herein.

   79.      Defendant used Mr. Brechot’s name or likeness when he created and published the Houston

   Craigslist Ad and the Denver Craigslist Ad on the Internet in the Craigslist Casual Encounters

   category.

   80.      Mr. Brechot did not consent to allowing Defendant to use his name or likeness in the

   Houston Craigslist Ad and the Denver Craigslist Ad.

   81.      Defendant did not use Mr. Brechot’s name or likeness in the Houston Craigslist Ad and

   the Denver Craigslist Ad to publicize a true newsworthy event or a matter of public concern.

   82.      Defendant used Mr. Brechot’s name or likeness in the Houston Craigslist Ad and the

   Denver Craigslist Ad to obtain a noncommercial benefit for himself.




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   83.     Defendant wanted the use of Mr. Brechot’s name or likeness in the Houston Craigslist Ad

   and the Denver Craigslist Ad to cause Mr. Brechot emotional distress, reputational harm, and

   economic loss to retaliate against Mr. Brechot.

   84.    Defendant used Mr. Brechot’s name or likeness in the Houston Craigslist Ad and the

   Denver Craigslist Ad to cause Mr. Brechot to suffer emotional distress and reputational harm.

   85.     Defendant used Mr. Brechot’s name or likeness in the Houston Craigslist Ad and the

   Denver Craigslist Ad to cause Mr. Brechot economic loss.

   86.     Defendant’s invasion of Mr. Brechot’s privacy has caused and will cause Mr. Brechot to

   incur the following damages: attorneys’ fees; investigation costs; incidental expenses;

   inconveniences; emotional distress; impairment of quality of life; and reputational diminishment.



                                       COUNT IV
                     INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

   87.    Mr. Brechot repeats and re-alleges each of the allegations in the preceding paragraphs

   previously pled as if each were set forth in full herein.

   88.    Defendant’s conduct described herein has intruded upon Mr. Brechot, a natural person, in

   his place of solitude or seclusion.

   89.    Defendant’s intrusion would be highly offensive to a reasonable person.

   90.    Defendant’s intrusion described herein violates Colorado common law, and potentially

   federal law and the laws of other states with regard to the regard to the right of privacy and online

   harassment.




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   91.      As a direct and proximate result of the Defendant’s conduct, Mr. Brechot suffered severe

   emotional distress, inconvenience, and loss of enjoyment of life and incurred out-of-pocket

   expenses.

                                        COUNT V
                      INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

   92.      Mr. Brechot repeats and re-alleges each of the allegations in the preceding paragraphs

   previously pled as if each were set forth in full herein.

   93.      Defendant engaged in extreme and outrageous conduct.

   94.      Defendant engaged in that conduct recklessly or intending to cause Mr. Brechot severe

   emotional distress.

   95.       Defendant engaged in that conduct with the intent of causing Mr. Brechot severe emotional

   distress.

   96.      As a direct and proximate result of the Defendant’s conduct, Mr. Brechot suffered severe

   emotional distress, inconvenience, and loss of enjoyment of life and incurred out-of-pocket

   expenses.

                                           REQUEST FOR RELIEF

            Wherefore, Mr. Brechot respectfully requests that this honorable Court enter judgment in

   his favor and against Defendant on Counts I through V above granting the following relief:

         a. Permanent injunctive relief that prohibits Defendant from engaging in the conduct

            complained of herein;

         b. An award of damages in an amount to be determined at trial;

         c. An award of prejudgment and post-judgment interest, as allowed by law;

         d. An award of costs and attorney fees; and

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      e. Such further relief as this Court deems just and proper.



                                         JURY DEMAND

          Mr. Brechot makes a jury demand consistent with Federal Rule of Civil Procedure 38.



          Respectfully submitted this 22nd day of November 2017.


                                       LAW OFFICE OF CASSANDRA M. KIRSCH, LLC

                                        /s/Cassandra M. Kirsch
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                                       Denver, CO 80202
                                       Phone: (303) 228-2165
                                       Fax: (877) 501-5253
                                       ckirsch@cmklawoffice.com

                                        Attorney for Plaintiff

   Original Signature on File


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   LAW OFFICE OF CASSANDRA M. KIRSCH, LLC
   600 17th Street, Ste. 2800-S
   Denver, CO 80202




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